 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 1 of 17 Page ID #:209



 1     Ronald S. Caswell (SBN 161113)
       Caswell & Cannon
 2     1625 Warnall Avenue, Suite 100
 3     Los Angeles, California 90024
       Telephone: (310) 282-8150
 4     Facsimile: (310) 282-8140
 5     Todd J. Harlow (Pro Hac Vice)
       Cowles & Thompson, P.C.
 6     901 Main Street, Suite 3900
 7     Dallas, Texas 75202
       Telephone: (214) 672-2138
 8     Facsimile: (214) 672-2338

 9     Attorneys for Qui Tam Plaintiff,
       MARCELLUS TAYLOR
10
11                                    UNITED STATES DISTRICT COURT
12                                   CENTRAL DISTRICT OF CALIFORNIA
13
     THE CITY OF LOS ANGELES, LOS                      )
14   ANGELES FIRE & POLICE PENSION ex                  )
     rel MARCELLUS TAYLOR,                             )   CASE NO. 2:15-cv-05343-RGK-RAOx
15                                                     )
16                     Plaintiff,                      )   PLAINTIFF’S SECOND
                                                       )   AMENDED COMPLAINT
17                                                     )
                                                       )
18   vs.                                               )
19                                                     )
     DEUTSCHE BANK, AG; DBAH CAPITAL,                  )
20   LLC; and DB INVESTMENT                            )
     MANAGERS, INC.,                                   )
21
                                                       )
22                     Defendants.                     )
                                                       )
23
24               Plaintiff City of Los Angeles, Los Angeles Fire & Police Pensions (“LAFP”), ex
25   rel. Marcellus Taylor, qui tam Plaintiff, files its Second Amended Complaint for violations
26   of the California False Claims Act (“the Act”) against Deutsche Bank, AG, DBAH
27   Capital, LLC, a n d DB Investment Managers, Inc. (collectively, “Deutsche Bank” or
28   “Defendants”). In support, Plaintiff respectfully alleges as follows:



                                                -1-
                           PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 2 of 17 Page ID #:210



 1                                              I.
                                           INTRODUCTION
 2
 3               1.   Plaintiff seeks to hold Deutsche Bank accountable for the hundreds of
 4   millions of dollars in damages caused to LAFP through Deutsche Bank's perpetration of a
 5   massive “pay-to-play” investment fraud similar to the fraud perpetrated on public pension
 6   funds located in New York, New Mexico, and elsewhere.
 7               2.   The fraud works like this: investment fund managers like DB Investment
 8   defraud public pension funds by entering into outsized placement agent agreements
 9   with politically-connected investment fund placement agents. The placement agents then
10   leverage their political influence to secure placements of public pension capital in
11   investments managed by the fund managers who have “paid to play” by hiring those
12   placement agents. The taxpayers whose funds are “placed” in these investments are the
13   ultimate losers, as their money is invested in sub-par investment products chosen not
14   because they are wise investments, but instead because those investments are pushed by
15   placement agents who have political connections with public pension officials that
16   legitimate fund managers lack.
17               3.   Here, Deutsche Bank perpetrated its fraud on LAFP by leveraging (1) its
18   controlling interest in Aldus Equity, LLC (“Aldus”), the private equity consulting firm
19   LAFP hired to make investments for its private equity portfolio, and (2) Deutsche
20   Bank’s series of illicit connections to politically-connected placement agents, including
21   New Mexico-based placement agent Marc Correra and his California-based cronies Julio
22   Ramirez, Dan Weinstein and Marvin Rosen.
23               4.   From 2007 through 2009, Deutsche Bank and these corrupt placement agents
24   fraudulently steered $355 million of LAFP capital into twelve separate private equity funds
25   marketed by those placement agents. Throughout this entire time, Deutsche Bank failed to
26   disclose its relationships with these placement agents to LAFP, and concealed the fact that
27   Deutsche Bank was basing its investment recommendations on funds’ relationships with
28   these corrupt placement agents, rather than the best interests of LAFP.



                                              -2-
                         PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 3 of 17 Page ID #:211



 1               5.   This lawsuit positions LAFP to recover the full damages sustained from
 2   investment fraud losses, and will prevent the most corrupt player in this scheme, Deutsche
 3   Bank, from avoiding its fair share of accountability. As explained herein, Deutsche
 4   Bank's conduct is deplorable, and merits recovery of treble damages for the $355 million
 5   in damages Deutsche Bank caused while lining its own pockets with taxpayers' money.
 6                                                        II.
                                                        PARTIES
 7
 8               6.   Plaintiff is the City of Los Angeles, a political subdivision of the State
 9   of California. Los Angeles Fire and Police Pensions (“LAFP”) is a city agency that
10   administers defined retirement plan benefits for all sworn employees of the City of Los
11   Angeles, including its fire fighters, police, and certain port police. These hardworking
12   civil servants are the ultimate beneficiaries of this action, as LAFP is charged with
13   investing their pension funds.
14               7.   The qui tam plaintiff, Marcellus Taylor, is a former Aldus partner who was
15   forced out of Aldus by Deutsche Bank in December 2007 so that it could implement the
16   massive fraud alleged herein. For reasons discussed infra, Mr. Taylor is an “original
17   source” as that term is defined in Section 12652(d)(3)(B) of the Act.1 He has also complied
18   with the notice requirements of Section 12652(d)(C)(i)-(ii) of the Act. Specifically, prior
19   to filing suit, Mr. Taylor provided the entire LAFP Board draft copies of his Original
20   Complaint, along with a disclosure package that included records detailing the fraud
21   alleged herein. Mr. Taylor then conferred with the Los Angeles City Attorney regarding
22   the allegations in his draft Complaint. Despite having been afforded the opportunity to
23   take independent action to address the fraud Mr. Taylor disclosed, LAFP opted not to do
24   so prior to the filing of this suit.
25               8.   Deutsche Bank, AG is a Frankfurt, Germany-based investment-banking
26   firm with its principal place of U.S. business located in New York, New York. Deutsche
27   Bank, AG received, paid, or arranged kickbacks on investment business from LAFP.
28
     1
      Mr. Taylor also blew the whistle on rampant “pay-to-play” investment fraud in the State of New Mexico, and was
     an original source of critical information that was later reported in connection with investigations of that fraud.

                                                -3-
                           PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 4 of 17 Page ID #:212



 1               9.    DB Investment Managers, Inc. (“DB Investment”) is a corporation with its
 2   principal place of business in New York, New York. DB Investment, a Deutsche Bank, AG
 3   subsidiary, entered into an illegal “pay-to-play” agreement with Marc Correra's company,
 4   Cabrera Capital Markets, Inc., that paid Mr. Correra outsized fees in return for Mr.
 5   Correra's agreement to steer public pension fund dollars to funds managed by DB
 6   Investment, including the Topiary Trust. Mr. Correra then enlisted the aid of co-
 7   conspirators to perpetrate the same fraud on LAFP.
 8               10.   DBAH Capital, LLC is a New York limited liability company. Deutsche
 9   Bank AG acquired its controlling interest in Aldus through DBAH Capital.
10                                              III.
                                      JURISDICTION AND VENUE
11
12               11.   The Court has diversity jurisdiction over this matter because the parties are
13   citizens and residents of different States, and because the amount in controversy exceeds
14   the minimum jurisdictional limit of the Court.
15               12.   Venue is proper in this Court because Plaintiff is a political subdivision
16   located in this District, and because all or a substantial part of the acts and omissions that
17   give rise to this suit occurred in this District.
18                                             IV.
                                       FACTUAL BACKGROUND
19
20               A.    Aldus Is Formed To Act As Gatekeeper For Public Pension Funds'
                       Private Equity Investments.
21
                 13.   Aldus was founded in 2003 by Saul Meyer and Matthew O'Reilly. As a
22
     private equity gatekeeper for public pension funds, Aldus directed public pensions’
23
     investments in a variety of private equity funds.
24
                 14.   Mr. Taylor joined Aldus in February 2004 as an equity partner. Thereafter,
25
     Messrs. Meyer, O'Reilly, and Taylor served as the key executives of Aldus. Mr. Taylor was
26
     responsible for due diligence on investments in African-American and Hispanic private
27
     equity firms, while Mr. Meyer focused on client development and Mr. O'Reilly oversaw
28
     firm compliance with securities laws.


                                               -4-
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 5 of 17 Page ID #:213



 1               15.   In 2004, Aldus secured private equity consulting contracts with several
 2   prominent public pensions, including New Mexico Retirement, New York Retirement,
 3   New York City Retirement, Fort Worth Retirement, San Antonio Retirement, and Texas
 4   Safekeeping Trust.
 5               16.   From 2004 to 2006, Aldus rapidly expanded its business and secured
 6   additional private equity contracts from a number of prominent public pensions and
 7   Fortune 500 companies, including the California Public Employees Retirement and Wal-
 8   Mart, Inc.
 9               17.   By Summer 2006, Aldus had grown from a fledgling start-up to a major
10   Wall Street private equity player, with over $3 billion of capital under management
11   and fifteen investment professional employees. Aldus also benefitted from a strong
12   pipeline of new pension client prospects, including New Jersey Retirement, Texas
13   Teachers Retirement, Oklahoma Teachers Retirement, and LAFP.
14               18.   Then Deutsche Bank came calling.
15               B.    Deutsche Bank Targets Aldus To Accelerate Its Foray Into The Public
16                     Pension Investment Arena.
17               19.   Deutsche Bank, AG is one of the world's largest banks. It operates from
18   over 3,000 branch locations in more than 70 countries, and has over $700 billion of
19   capital under management.
20               20.   In 2006, private equity was one of the hottest and most profitable asset
21   classes on Wall Street. Most of the other bulge-bracket investment banks maintained
22   substantial private equity divisions, and Deutsche Bank, AG was at a competitive
23   disadvantage because it had no significant private equity practice. As a German bank,
24   Deutsche Bank, AG had been unable to crack the large and lucrative public pension market.
25               21.   To better compete with its Wall Street rivals, Deutsche Bank, AG sought to
26   aggressively expand both into private equity and the public pension fund arena. Rather than
27   build out a private equity subsidiary from the ground up, Deutsche Bank accelerated its
28   foray into these markets by pursuing an acquisition of an established private equity
     consulting firm that had already garnered a critical mass of public pension assets.

                                               -5-
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 6 of 17 Page ID #:214



 1               22.   To lead the effort, Deutsche Bank tapped Cesar Baez, then head of private
 2   equity for New Jersey Retirement, to build out a market-leading private equity division for
 3   Deutsche Bank.
 4               23.   Prior to joining Deutsche Bank, Mr. Baez had already formed a close personal
 5   friendship with Mr. Meyer, who had spent over a year soliciting a $300 million private
 6   equity contract from New Jersey Retirement. Together, the two demonstrated an
 7   eagerness to engage in the same “pay-to-play” investment fraud that was later perpetrated
 8   on LAFP.
 9               24.   Specifically, during his tenure at New Jersey, Mr. Baez agreed to a job offer
10   from Mr. Meyer to join Aldus in exchange for a 20% stake in the company. In return, Mr.
11   Baez agreed to use his influence to steer a $300 million private equity contract from New
12   Jersey to Aldus.
13               25.   Before finalizing his acceptance of Aldus' job offer, Mr. Baez changed his
14   mind and instead joined Deutsche Bank as Global Head of Private Equity.
15               26.   Upon joining Deutsche Bank, Mr. Baez approached Mr. Meyer with a
16   proposal for Deutsche Bank to acquire a controlling stake in Aldus. In late 2006, Aldus
17   accepted Deutsche Bank’s initial Term Sheet Proposal to acquire control of Aldus in a
18   two-part transaction in which DBAH Capital, LLC would acquire an initial 45%
19   controlling stake in Aldus in 2007. Aldus would become Deutsche Bank’s “exclusive”
20   private equity fund-of-fund and co-investment subsidiary.
21               C.    Deutsche Bank Pressures Aldus To Re-Hire Aldus Partner Saul Meyer
                       After He Is Terminated For Accepting An Illegal Kickback From Mr.
22
                       Correra.
23
                 27.   As Deutsche Bank was finalizing its Aldus acquisition in late 2006, Mr.
24
     Taylor orchestrated Mr. Meyer’s termination from Aldus. Mr. Meyer was terminated
25
     because he admitted in an audiotaped telephone conversation that he had accepted a
26
     $10,000 kickback from Mr. Correra.
27
28



                                               -6-
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 7 of 17 Page ID #:215



 1               28.   Two days after Mr. Meyer’s termination, Messrs. Taylor and O'Reilly
 2   travelled to New York to personally notify a Deutsche Bank senior executive, Mr.
 3   Thomas Curtis, that Mr. Meyer had been terminated for that reason.
 4               29.   During this meeting, Mr. Curtis seemed genuinely stunned and
 5   disappointed that Mr. Meyer, Aldus’ founding partner and primary rainmaker, had been
 6   terminated. However, he offered no reaction to the reason for the termination: accepting
 7   an illegal kickback from Mr. Correra.
 8               30.   The next week, Mr. Curtis and fellow Deutsche Bank executives Charles
 9   Leitner and Timothy Keith phoned Mr. Taylor to express their frustration about Mr.
10   Taylor’s decision to terminate Mr. Meyer without giving them any advance notice. They
11   proceeded to aggressively bully Mr. Taylor to re-hire Mr. Meyer by threatening a lawsuit
12   against Aldus and Mr. Taylor personally if he refused. Deutsche Bank followed up these
13   verbal threats with a letter from its lawyers later that week, in which Deutsche Bank
14   announced that if it were forced to break off the Aldus acquisition, it would sue Aldus and
15   Mr. Taylor for all legal fees Deutsche Bank incurred in connection with the acquisition.
16               31.   Deutsche Bank then promised Mr. Taylor that if Mr. Meyer were re-hired,
17   Deutsche Bank would ensure that Aldus would be operated in full legal compliance
18   because Deutsche Bank would take control over all of Aldus’ investment activities,
19   and had systems in place to ensure that no future misconduct would occur.
20               32.   Believing that he had no other option, and relying on Deutsche Bank’s
21   promises, Mr. Taylor relented to Deutsche Bank’s pressure tactics and agreed to re-hire
22   Mr. Meyer.
23               33.   At the same time Deutsche Bank was lying to Mr. Taylor about its rigorous
24   compliance systems, Deutsche Bank was also concealing a critical fact, namely that just
25   four months before Mr. Meyer’s termination at Aldus, Deutsche Bank had partnered
26   with Mr. Correra through a secret joint-venture marketing agreement with Mr.
27   Correra’s company, Cabrera Capital Markets. Deutsche Bank then used Correra’s
28   political connections to secure a $250 million hedge fund contract from New Mexico
     Retirement.

                                               -7-
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 8 of 17 Page ID #:216



 1               34.   Mr. Correra’s secret agreement with Deutsche Bank had all of the
 2   earmarks of “pay-to-play” fraud, as it called for the payment of outsized “placement fees” to
 3   a political operator with no investment expertise. Deutsche Bank’s agreement with Mr.
 4   Correra called for Deutsche Bank to pay Mr. Correra a staggering 25% of all management
 5   fees and 25% of all carried interest earned on all hedge fund contracts Deutsche Bank and
 6   Mr. Correra captured. By way of comparison, most legitimate placement agents only
 7   receive a one-time fee of one-half of one percent (0.05%) of the total contract value, a
 8   small fraction of what Deutsche Bank agreed to pay Mr. Correra.
 9               35.   Precedent examples in which an investment advisor like Deutsche Bank
10   obtained a pension contract by allocating outsized economics to a politically-connected
11   placement agent like Mr. Correra have resulted in not only civil liability, but also
12   criminal prosecution. New York Attorney General Andrew Cuomo pursued felony
13   securities fraud charges against Mr. Meyer for executing a similar secret agreement to
14   pay New York placement agent Hank Morris 30% of all fees for a contract Mr. Meyer
15   negotiated with New York Retirement. Mr. Meyer eventually pled guilty to felony
16   securities fraud for this illegal conduct, and Hank Morris served two years in federal
17   prison.
18               36.   Had Deutsche Bank disclosed its partnership with Mr. Correra to Mr. Taylor
19   at the time Mr. Taylor informed Deutsch Bank that Mr. Meyer had been terminated for
20   accepting a $10,000 kickback from Mr. Correra, Mr. Taylor would have never allowed
21   Deutsche Bank to bully him into rehiring Mr. Meyer. Moreover, had Deutsche Bank
22   informed Mr. Taylor at that time that Deutsche Bank intended to continue working with
23   Mr. Correra even after it learned the man was a crook, Mr. Taylor would never have
24   consented to Deutsche Bank’s acquisition of Aldus, and the entire “pay-to-play”
25   investment fraud Deutsche Bank eventually perpetrated on LAFP with the help of Mr.
26   Correra and his co-conspirators would have been avoided.
27               37.   Because Deutsche Bank fraudulently concealed the truth, it wasn’t until late
28   2012, when Mr. Taylor finally obtained an actual copy of Deutsche Bank’s secret
     agreement with Mr. Correra, that Mr. Taylor first learned about Deutsche Bank’s central

                                               -8-
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 9 of 17 Page ID #:217



 1   role in the massive fraud perpetrated on LAFP by Deutsche Bank, Mr. Correra, and his
 2   cronies.
 3               D.    Deutsche Bank Shields Mr. Meyer After Acquiring Its Controlling Stake
                       In Aldus.
 4
 5               38.   In March 2007, Deutsche Bank filed disclosures with the U.S. Securities &
 6   Exchange Commission stating that Deutsche Bank owned a “controlling” interest in Aldus,
 7   and recognized Aldus as a Deutsche Bank subsidiary.
 8               39.   In its role as Aldus’ controlling shareholder, Deutsche Bank aligned with
 9   Mr. Meyer by designating him as the “sole” contact for all official Deutsche Bank
10   communication with Aldus. It was as if Aldus’ other partners did not exist in Deutsche
11   Bank’s eyes.
12               40.   Deutsche Bank also required the other Aldus partners to sign an
13   “Agreement Among Owners” guaranteeing that the Aldus partners would not terminate
14   Mr. Meyer in the future for any reason. After freezing out Aldus’ non-corrupt
15   partners, Deutsche Bank was free to implement its “pay-to-play” securities fraud on
16   LAFP.
17               41.   Thereafter, Deutsche Bank functioned as a hands-on, controlling owner of
18   Aldus, and was intimately involved in all aspects of Aldus’ investment operations. Aldus
19   was required to obtain Deutsche Bank’s pre-approval on all key decisions, including (i)
20   public pension RFP responses; (ii) public pension “pitch books”; (iii) hiring and firing
21   of Aldus executives; and (iv) most importantly, corporate approval of all Aldus pension
22   investments.
23               42.   As Aldus’ largest owner, Deutsche Bank had both majority control and veto
24   powers over Aldus’ Investment, Audit and Compliance Committees. Deutsche Bank
25   executives Charles Leitner, Tim Keith, Charles Hughes, and Charles Smith all
26   participated in Aldus’ Monday morning investment committee meetings where investment
27   decisions were made, and Deutsche Bank had final authorization powers over Aldus’
28   investments, including investments for LAFP. During these meetings, Mr. Taylor
     personally heard senior Deutsche Bank executives discussing Deutsche Bank’s plan to

                                               -9-
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 10 of 17 Page ID #:218



 1   transport to LAFP the same fraudulent investments Deutsche Bank had made on behalf of
 2   the New Mexico State Investment Council and New Mexico Education Retirement
 3   Board. By participating in internal Deutsche Bank/Aldus executive committee meetings,
 4   Mr. Taylor further learned that Deutsche Bank sought to downplay its role and influence
 5   over Aldus’ investment committee to the LAFP Board. He has first-hand knowledge that
 6   Deutsche Bank refused to disclose its controlling interest in Aldus to the LAFP Board,
 7   and also has first-hand knowledge that Deutsche Bank refused to disclose its secret
 8   placement agent agreement with Mr. Correra to the LAFP Board.
 9               E.    Deutsche Bank Implements Its “Pay-To-Play” Investment Fraud At
                       LAFP.
10
11               43.   To perpetrate its fraud on LAFP, Deutsche Bank turned to Saul Meyer and
12   Cesar Baez, and their network of California-based, politically-connected placement
13   agents. In addition to his friendship with Mr. Meyer, Mr. Baez had also forged friendships
14   with Julio Ramirez, Dan Weinstein, and Marvin Rosen. These personal connections laid
15   the groundwork for the “pay-to-play” investment fraud that followed.
16               44.   Meyer and Baez's ties to Ramirez and Weinstein date back to Ramirez and
17   Weinstein's tenures at Wetherly Capital, a Los Angeles-based equity placement firm.
18               45.   Ramirez and Weinstein agreed to use their local political connections to
19   assist Deutsche Bank/Aldus in securing LAFP's private equity consulting contract. In
20   return for their behind-the-scenes political assistance, Meyer and Baez agreed to invest
21   LAFP capital into funds marketed by Ramirez and Weinstein.
22               46.   To advance the scheme, Weinstein leveraged his close personal relationship
23   with Sean Harrigan, who served as LAFP's Board President (Weinstein and Harrigan
24   had previously worked together at Yucaipa Companies, a Los Angeles-based private
25   equity firm).
26               47.   Meanwhile, Ramirez leveraged his close personal relationship with LAFP
27   Board Member Louis Moret.
28               48.   Weinstein and Ramirez’s efforts quickly paid off. Deutsche Bank/Aldus
     was awarded LAFP's private equity consulting contract. Mr. Taylor has first-hand

                                               - 10 -
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 11 of 17 Page ID #:219



 1   knowledge that that contract specifically provided that Deutsche Bank/Aldus would invest
 2   in a portfolio of private equity funds without influence from third-party conflicted interests.
 3               49.   For its very first investment on behalf of LAFP, Deutsche Bank directed
 4   Aldus to invest $40 million in Apollo Advisors, a private equity fund that had hired Mr.
 5   Ramirez as its placement agent. Deutsche Bank’s investment decision netted Ramirez an
 6   $800,000 placement fee. Deutsche Bank then directed Aldus to invest $30 million of
 7   LAFP funds in a private equity fund called Ares, which Mr. Weinstein represented as
 8   its placement agent. Deutsche Bank’s investment decision generated a $600,000
 9   payday for Weinstein. Mr. Taylor has first-hand knowledge that Deutsche Bank failed to
10   disclose to LAFP that Ramirez and Weinstein acted as placement agents on these
11   investments.
12               50.   Shortly before these capital placements, Deutsche Bank had made identical
13   investments in Apollo Advisors and Ares on behalf of the New Mexico Education
14   Retirement Board. Those investment decisions netted Correra $1.4 million in placement
15   fees, which Correra then split 50/50 with Ramirez and Weinstein. And this was only the
16   beginning. Deutsche Bank went on to invest LAFP’s capital into six other funds (Ares II,
17   Platinum, LLCP, CDR, Thoma Bravo and Newstone), all of which were “recycled” New
18   Mexico pay-to-play investments that enriched either Julio Ramirez or Dan Weinstein
19   through their fee-splitting arrangement with Correra. Here again, Deutsche Bank never
20   informed LAFP that Ramirez and Weinstein were placement agents on these investments,
21   and failed to disclose the outsized placement agent fees being paid using LAFP’s money.
22               51.   During this same time period, Deutsche Bank also invested LAFP’s
23   capital into two additional funds—AG Recovery and Odyssey—solely because they were
24   marketed by Julio Ramirez, and again without disclosing Ramirez’s role as placement
25   agent to LAFP.
26               52.   Finally, Deutsche Bank steered LAFP investments into Vista Equity and
27   Crestview, two funds that were secretly marketed by politically-connected placement agent
28



                                               - 11 -
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 12 of 17 Page ID #:220



 1   Marvin Rosen (who also previously shared fees with Correra on placement deals in New
 2   Mexico).2
 3               53.   Deutsche Bank steered all of these LAFP investments as financial payback
 4   to Ramirez, Weinstein, and Rosen for their political assistance in convincing LAFP Board
 5   Members Harrigan and Moret to recommend Aldus to handle private equity consulting
 6   for LAFP.
 7               F.    Deutsche Bank Inflicts Hundreds Of Millions Of Dollars In Damages
                       On LAFP Over The Lifetime Of These Fraudulent Investments.
 8
 9               54.   Deutsche Bank's “pay-to-play” investment fraud inflicted three layers of
10   damages on LAFP.
11               55.   First, from 2007 to 2009, Deutsche Bank directed the issuance of
12   hundreds of millions of dollars in LAFP investment contracts solely to enrich Messrs.
13   Ramirez, Weinstein, and Rosen, three politically-connected placement agents with close
14   ties to Marc Correra, Deutsche Bank’s secret joint venture partner. All told, Deutsche
15   Bank directed LAFP to invest $355 million of LAFP’s capital into twelve different private
16   equity funds solely because these funds paid placement fees to Julio Ramirez, Dan
17   Weinstein or Marvin Rosen. These fraudulent “pay-to-play” investments accounted for
18   over 70% of all the capital that Deutsche Bank invested for LAFP during this time
19   period. At no time was the relationship between Deutsche Bank and Correra disclosed to
20   LAFP, and at no time was LAFP informed that outsized placement agent fees were being
21   paid to undisclosed placement agents using LAFP money.
22               56.   While the original investment decisions were made during the 2007 to 2009
23   timeframe, the capital was not placed all at once. The investment agreements between
24   LAFP and the various private equity funds described herein contemplated investments
25   made over a six-year period. After all capital is invested, the agreements remain in place
26   2
       A comprehensive chart detailing the years and amounts of Deutsche Bank investments made on
27   behalf of LAFP is attached as Exhibit “A” and incorporated herein by reference. The chart—
     which Mr. Taylor provided to LAFP prior to filing suit—also includes, where applicable, the
28   identities of undisclosed placement agents who represent the private equity funds that received
     LAFP investment capital. The investment contracts underlying these fraudulent investments
     further detail the dates and amounts of fraudulent requests for payment made on LAFP.

                                               - 12 -
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 13 of 17 Page ID #:221



 1   for another six years, during which time the returns are harvested. Thus, the investment
 2   contracts formed from 2007 through 2009 remain in place to this day. Up to at least
 3   2013, fund managers for the investment funds described herein have made periodic
 4   requests for payment from LAFP in the form of (1) capital calls to place LAFP capital in
 5   the private equity funds, and (2) management fees to pay the managers of funds who
 6   fraudulently received LAFP investment dollars. Those requests for funds were made—
 7   and continue to be made—without disclosure of the secret role politically-connected
 8   placement agents played in Deutsche Bank’s investment decisions. Accordingly, these
 9   requests for payment are all fraudulent under the Act.
10               57.   In addition to massive capital commitments made on the basis of fraudulent
11   investment recommendations, LAFP has also paid the private equity firms themselves
12   more than $40 million in fraudulent management fees over the years these investments—
13   which are ongoing to this day—have been in place. Investment funds’ requests for payment
14   of those fees are also fraudulent, as they are made without disclosing the illicit relationship
15   between themselves, their placements agents, and Deutsche Bank.
16               58.   Finally, Mr. Correra’s co-conspirators Ramirez, Weinstein and Rosen
17   personally received more than $7 million in fraudulent placement agent fees paid to
18   directly by LAFP over the lifetime of the investments described herein.
19               59.   In addition to the massive damages caused from the submission of these
20   fraudulent claims for payment, LAFP has also been damaged by certain of Deutsche
21   Bank’s recycled New Mexico investments that have underperformed relative to the
22   broader private equity benchmarks and relative to the performance of other private equity
23   firms who refused to engage in pay-to-play. The ultimate losers in the scheme are the
24   police and firefighters whose funds were placed in sub-par investments by LAFP at the
25   direction of Deutsche Bank.
26               60.   LAFP is entitled to recover three times the amount of damages caused by
27   these pay-to-play investments, along with civil penalties, costs and reasonable attorneys’
28   fees, all as provided in the Act, plus pre- and post-judgment interest on the causes of
     action detailed herein.

                                               - 13 -
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 14 of 17 Page ID #:222



 1                                                  V.
                                          FIRST CAUSE OF ACTION
 2
                  (Violation of False Claims Act § 12651(a)(1) - Against All Defendants)
 3
                 61.      Plaintiff re-alleges and incorporates herein by reference each of the
 4
     allegations set forth in paragraphs 1 through 60, inclusive, above.
 5
                 62.      Defendants knowingly presented, or caused to be presented false or
 6
     fraudulent claims for payment or approval by LAFP. As explained above, the false claims
 7
     for payment came in the form of fraudulent requests for capital contributions to various
 8
     private equity funds, fraudulent requests for payment of management fees associated with
 9
     those investments, and fraudulent requests for payment that did not include disclosure of
10
     placement agents affiliated with private equity funds that received LAFP investment
11
     capital. These fraudulent capital placements occurred over a six-year period beginning in
12
     2007. The management fees have been paid throughout the term of the investments, and
13
     continue to be paid to this day. Every request for a placement of equity capital, and every
14
     request for payment of a management fee, constitutes a distinct, fraudulent claim for
15
     payment from LAFP that Deutsche Bank actively conspired to obtain.
16
                 63.      These periodic fraudulent requests for payment—all made pursuant to the
17
     terms of the specific investment contracts governing each investment—stem from
18
     Deutsche Bank’s initial investment recommendations made to LAFP for the following
19
     funds on the following dates (the undisclosed placement agent for each investment is
20
     identified in parentheses):3
21
22                      December 6, 2007: $40 million investment in Apollo Investment Fund VII,
                         L.P. (Julio Ramirez)
23
                        December 6, 2007: $35 million investment in Ares Distressed Securities
24                       Fund (Dan Weinstein)
25
                        January 24, 2008: $30 million investment in Platinum Equity Capital
26                       Partners II, L.P. (Julio Ramirez)
27
     3
28     Mr. Taylor disclosed these investments—and the identities of the undisclosed placement agents
     associated with the investments—to the entire LAFP Board prior to filing this suit, and only filed
     this qui tam action after the individuals charged with responsibility to act opted not to bring suit.

                                                  - 14 -
                             PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 15 of 17 Page ID #:223



 1                      February 21, 2008: $30 million investment in Vista Equity Partners Fund III
 2                       (Marvin Rosen)

 3                      March 20, 2008: $25 million investment in Levine Leichtman Capital
                         Partners IV (Dan Weinstein)
 4
 5                      April 17, 2008: $20 million investment in Clayton, Dubilier & Rice VIII,
                         L.P. (Julio Ramirez)
 6
 7                      August 21, 2008: $25 million investment in Crestview Partners II (Marvin
                         Rosen)
 8
                        October 16, 2008: $20 million investment in Thoma Bravo Fund IX (Julio
 9
                         Ramirez)
10
                        January 22, 2009: $35 million investment in AG Capital Recovery Partners
11                       VII (Julio Ramirez)
12
                        January 22, 2009: $35 million investment in Newstone Capital Partners II,
13                       L.P. (Julio Ramirez)
14
                        February 19, 2009: $22.5 million investment in Odyssey Investment Partners
15                       Fund IV, L.P. (Julio Ramirez)
16
                        February 19, 2009: $30 million investment in Ares Corporate Opportunities
17                       Fund III, L.P. (Dan Weinstein)
18                                               VI.
19                                      SECOND CAUSE OF ACTION
20                (Violation of False Claims Act § 12651(a)(2) - Against All Defendants)
21               64.      Plaintiff re-alleges and incorporates herein by reference each of the
22   allegations set forth in paragraphs 1 through 63, inclusive, above.
23               65.      Defendants knowingly made, used, or caused to be made or used false
24   records or statements material to the false or fraudulent claims alleged herein.
25                                                VII.
                                         THIRD CAUSE OF ACTION
26
                  (Violation of False Claims Act § 12651(a)(3) - Against All Defendants)
27
                 66.      Plaintiff re-alleges and incorporates herein by reference each of the
28
     allegations set forth in paragraphs 1 through 65, inclusive, above.


                                                   - 15 -
                              PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 16 of 17 Page ID #:224



 1               67.   Defendants conspired with the undisclosed placement agents and private
 2   equity funds identified herein to commit violations of the Act. That conspiracy was
 3   formed in 2007, involved fraudulent requests for payment from LAFP in the form of
 4   capital calls up to 2013, and, to the extent management fees continue to be paid by LAFP,
 5   continues to this day. Deutsche Bank executives Charles Leitner, Tim Keith, Charles
 6   Hughes, and Charles Smith all actively participated in the conspiracy to defraud LAFP.
 7                                            VIII.
                                     FOURTH CAUSE OF ACTION
 8
                  (Violation of False Claims Act § 12651(a)(8) - Against All Defendants)
 9
                 68.   Plaintiff re-alleges and incorporates herein by reference each of the
10
     allegations set forth in paragraphs 1 through 67, inclusive, above.
11
                 69.   Alternatively, as a beneficiary of an inadvertent submission of a false claim,
12
     and having subsequently discovered the falsity of the claim, Defendants failed to disclose
13
     the false claim to LAFP within a reasonable time after discovery.
14
                                                   IX.
15
                                              JURY DEMAND
16
                 70.   Mr. Taylor demands a trial by jury on behalf of Plaintiff.
17
                                                     X.
18                                                 PRAYER
19               WHEREFORE, Plaintiff prays for:
20               a.    Actual damages in amounts to be determined at trial;
21               b.    Rescission of the investment transactions described in this complaint,
22   including the return of the consideration paid by LAFP;
23               c.    Disgorgement and restitution of all fees or other compensation received
24   from whatever sources by Defendants as a result of LAFP's investments;
25               d.    Pre- and post-judgment interest;
26               e.    Trebling of the foregoing amounts as provided by the Act;
27               f.    The costs of this civil action;
28               g.    Reasonable attorney fees, including the fees of the Attorney General, LAFP,
     and counsel for the qui tam plaintiff;

                                               - 16 -
                          PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
 Case 2:15-cv-05343-RGK-RAO Document 21 Filed 08/28/15 Page 17 of 17 Page ID #:225



 1               h.   Awards distributing the proceeds of this action or any related settlement in
 2   accordance with the Act;
 3               i.   Disqualification of Deutsche Bank and any Deutsche Bank affiliate from
 4   any future awards of California state contracts; and
 5               j.   Such other and further relief as may be necessary or appropriate.
 6
 7
 8               DATED: August 28, 2015
                                                          CASWELL & CANNON
 9
10                                                        By: /s/ Ronald S. Caswell
                                                          Ronald S. Caswell
11                                                        1625 Warnall Avenue, Suite 100
12                                                        Los Angeles, California 90024
                                                          Telephone: (310) 282-8150
13                                                        Facsimile: (310) 282-8140
14                                                       COWLES & THOMPSON, P.C.
15
                                                         By: /s/ Todd J. Harlow
16                                                       Todd J. Harlow (admitted pro hac vice)
                                                         901 Main Street, Suite 3900
17                                                       Dallas, Texas 75202
                                                         Telephone: (214) 672-2138
18                                                       Facsimile: (214) 672-2338
19
20                                                        Attorneys for Qui Tam Plaintiff,
                                                          MARCELLUS TAYLOR
21
22
23
24
25
26
27
28



                                              - 17 -
                         PLAINTIFF’S SECOND AMENDED QUI TAM COMPLAINT
     1512280.1
